981 F.2d 1250
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Thomas J. CONBOY, Plaintiff-Appellant,v.THE CREDIT BUREAU INC., ECIS Washington;  TRW Credit Data,Defendants-Appellees.
    No. 92-2233.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  November 30, 1992Decided:  December 15, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Catherine C. Blake, Magistrate Judge.  (CA-91-2501-HM)
      Thomas J. Conboy, Appellant Pro Se.
      Thomas Moss Wood, IV, Neuberger, Quinn, Gielen &amp; Rubin, P.A., Baltimore, Maryland;  Sandy David Baron, Goldstein &amp; Baron, Chartered, College Park, Maryland, for Appellees.
      D.Md.
      Dismissed.
      Before WILKINS and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Thomas J. Conboy appeals from the magistrate judge's order that granted Appellee's motion to compel Conboy to answer interrogatories and denied Conboy's motion for appointment of counsel.  We grant the Appellees' motion to dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C.s 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1988);  Fed.  R. Civ. P. 54(b);   Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    